    2:18-mn-02873-RMG               Date Filed 09/17/22   Entry Number 2606   Page 1 of 2




                                                      U.S. Department of Justice

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                                                      September 17, 2022
VIA ECF
The Honorable Richard M. Gergel
U.S. District Judge, District of South
Carolina
P.O. Box 835
Charleston, SC 29402

Dear Judge Gergel,

       I write concerning the Court’s text order of September 16, 2022, “unseal[ing]
all documents cited in the order denying Defendants’ motion for summary
judgment on government contractor immunity,” ECF No. 2605 (emphasis added). 1
The text order does not address governmental interests in confidentiality, but the
plain text of the order appears to unseal information produced by the United
States as confidential under the protective order.

      The Summary Judgment Order directly cites confidential materials
produced by the United States in this litigation, which were filed under seal. In
addition, the Summary Judgment Order cites the parties’ briefs, portions of which
were sealed because they discuss the contents of confidential materials provided by
the United States. The United States interprets the text of the Court’s unsealing
order to unseal any exhibit cited in the Summary Judgment Order and lift
redactions from the entirety of the parties’ briefs, including supplemental briefing,
on the government contractor defense. Such a result would impair the United
States’ interests in maintaining the confidentiality of its material, something it is
unclear the Court intended to do.

      The United States offers one example of its concerns with respect to the
Court’s citations to exhibits. On page 13 of the Summary Judgment Order, the
Court cites the transcript from the deposition of U.S. Naval Research Laboratory

1Herein, we refer to the Court’s order denying Defendants’ motion for summary
judgment (ECF No. 2601), which is the subject of the text order, as the “Summary
Judgment Order.”
   2:18-mn-02873-RMG       Date Filed 09/17/22    Entry Number 2606     Page 2 of 2




employee John Farley, which was filed under seal as Plaintiffs’ Exhibit 35 at ECF
Nos. 2063-36 (slipsheet) and 2597-8 (under seal). Although the United States does
not claim confidentiality over the 10 lines the Court cited, Plaintiffs’ Exhibit 35 is
the complete, 346-page transcript of the first day of Mr. Farley’s deposition.
Elsewhere in those 346 pages, Mr. Farley discusses confidential Navy testing of
AFFF products and fire suppression systems on advanced Navy ship classes. The
United States understands the plain text of the order to unseal the entirety of this
346-page transcript.

      The United States further offers an example of the Court’s citations to the
parties’ briefs. The Summary Judgment Order several times cites one of the
Telomer MilSpec AFFF Manufacturers’ briefs, which was filed at ECF Nos. 2348
(redacted) and 2444 (under seal). This Telomer Manufacturer brief, in turn,
discusses a confidential Navy investigation into AFFF products, which was
redacted from the public filing. The United States understands the plain text of
the order to unseal the entirety of this Telomer Manufacturer brief.

       To the extent that the United States has correctly interpreted the intent of
the unsealing order, the United States respectfully requests that the Court stay its
order for a period of no fewer than seven business days. The United States
appreciates that the Court has concluded that “the public’s right of access to court
records predominates over any private interest in confidentiality.” ECF No. 2605.
However, there are governmental interests in confidentiality as to specific
documents or portions of documents that justify continued sealing—at least in
part. And it will take time for the United States, first, to identify which of its
confidential materials are at issue and, second, to confer with the relevant agencies
regarding whether to seek limited reconsideration of the Court’s text order. It is
not possible for the United States to do that on an emergency basis over a
weekend.

      Accordingly, the United States seeks clarification that its reading of the
Court’s unsealing order is correct and, if so, requests a stay of the order to allow
the United States to confer with its agencies to seek partial reconsideration of the
order before it goes into effect.

                                                     Respectfully submitted,

                                                     /s/ Frederick G. Hall
                                                     Frederick Gaston Hall
                                                     Trial Attorney
cc: Counsel of Record (via ECF)




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